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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :   MAGISTRATE NO. 21-MJ-062
                                                  :
              v.                                  :
                                                  :
 JENNIFER LEIGH RYAN,                             :   VIOLATIONS:
                                                  :   18 U.S.C. § 1752(a)(1)
                       Defendant.                 :   (Entering and Remaining in a Restricted
                                                  :   Building)
                                                  :   18 U.S.C. § 1752(a)(2)
                                                  :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Violent Entry and Disorderly Conduct in
                                                  :   a Capitol Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Parading, Demonstrating, or Picketing in
                                                  :   a Capitol Building)

                                    INFORMATION

       The United States Attorney charges that:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, JENNIFER LEIGH RYAN,

did knowingly enter and remain in the United States Capitol, a restricted building, without lawful

authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, JENNIFER LEIGH RYAN,

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engaged in disorderly and disruptive conduct in and within such proximity to,
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the United States Capitol, a restricted building, when and so that such conduct did in fact impede

and disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, JENNIFER LEIGH RYAN,

willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol

Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))

                                        COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, JENNIFER LEIGH RYAN,

willfully and knowingly paraded, demonstrated, and picketed in a Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                             Respectfully submitted,

                                             MICHAEL R. SHERWIN
                                             Acting United States Attorney
                                             N.Y. Bar No. 4444188


                                     By:
                                             KIMBERLY L. PASCHALL
                                             D.C. Bar No. 1015665
                                             Assistant United States Attorney
                                             555 4th Street, N.W.
                                             Washington, D.C. 20530
                                             Telephone No. (202) 252-2650
                                             Kimberly.Paschall@usdoj.gov

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